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                                   UNITED STATES DISTRICT COURT

                                   SOUTHERN DISTRICT OF FLORIDA

                                            ALTONAGA/DAMIAN

                                       CASE NO. 1:23-cv-22398-CMA

         Golden Exotics, LLC

         Plaintiff,

         v.

         United States of America,
         U.S. Department of Homeland Security

         Defendant.

         _________________________________/

   PLAINTIFF GOLDEN EXOTICS, LLC’S CERTIFICATE OF INTERESTED PARTIES

  Plaintiff Golden Exotics, LLC, by and through its undersigned attorneys, herewith files this

  Certificate of Interested Parties and states:

     1. Golden Exotics, LLC;

     2. Mr. Kevin Thobias.


                                                      /s/ Jonathan Edderai
                                                      Jonathan Edderai
                                                      Florida Bar No. 124350
                                                      1132 Kane Concourse, Suite 205
                                                      Bay Harbor Islands, FL 33154
                                                      Telephone: (786) 505-0431
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                                                      jonathan@wolfferscohen.com
                                                      Attorney for Plaintiff Golden Exotics, LLC




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                                         Certificate of Service

  I certify that on August 11, 2023, I electronically filed the foregoing document so that it is
  available from the Court’s CM/ECF system, and that all participants in the case are registered
  CM/ECF users and that service will be accomplished by the CM/ECF system

                                                                  /s/ Jonathan Edderai




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